        Case 8-19-73258-ast            Doc 4      Filed 05/06/19           Entered 05/06/19 10:08:45


UNITED STATES BANKRUPTCY COURT FOR THE
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X        RHS 3889
In Re:                                                                          PREPETITION SERVICES

        CARLOS DACOSTA,                                                         Case No.:


                                                      Debtors.
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ROBERT H. SOLOMON, an attorney duly admitted to practice in this Court states:

1. That I am a member of the law firm of ROBERT H. SOLOMON, attorney for the above

named debtor.

2. That prior to the filing of the petition herein, my law firm rendered the following services to

the above named debtor:

        DATE                           SERVICE                                        TIME

        4/12/19                    Initial interview analyses of                      1 hours
                                   financial condition, etc.

        4/19/19                    Preparation of petition;
                                   revisions; review with client                      2 hours

        5/3/19                     Additional Revision; Client
                                   signs Petition                                     1 hour

        5/6/19                     Additional Revision; File                          1 hour

3. That my firm will also represent the debtor at the first meeting of creditors and confirmation

hearing (if any).

4. That all services rendered prior to the filing of the petition were rendered personally by me.

5. That my usual rate of compensation on bankruptcy matters of this type is $375.00 per hour.

Dated: Long Beach, New York
       May 6, 2019
                                                              /s/ Robert H. Solomon, Esq.
                                                              ROBERT H. SOLOMON, ESQ.
                                                              Attorney for Debtor
                                                              24 East Park Avenue
                                                              P.O. Box 58
                                                              Long Beach, NY 11561
                                                              (516) 432-1622
